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              IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                                          NO. 4:05CR00305 SWW

ROY LEE BURNETT, JR.,
WILLIAM STEVE SPANGLER,
KELLI DEANNE STAFFORD,
MELISSA M. WOODALL and
PAMELA DENISE YARBOROUGH


                              ORDER OF DISMISSAL

       By ordered entered on August 23, 2006, and amended order entered on

August 25, 2006, the Court deferred entering an order of dismissal of the

indictment pending against the above defendants for a period of seven

days   to   give   the   parties   an   opportunity   to   negotiate   waivers   of

indictment and filing of a superseding information.             The Court stated

that in the absence of a superseding information, Count X would be

dismissed.    There have been no such filings as to the above defendants.

       IT IS THEREFORE ORDERED that Count X of the Indictment pending in

this case hereby is dismissed without prejudice to the grand jury’s

indicting the above defendants anew.

       Dated this 6th day of September, 2006.



                                             /s/Susan Webber Wright

                                             UNITED STATES DISTRICT JUDGE
